              Case: 22-3285                Document: 7       Filed: 02/13/2023        Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


         Everett McKinley Dirksen
                                                                                  Office of the Clerk
         United States Courthouse
                                                                                 Phone: (312) 435-5850
      Room 2722 - 219 S. Dearborn Street
                                                                                 www.ca7.uscourts.gov
           Chicago, Illinois 60604




                                            BRIEF DEFICIENCY LETTER
February 13, 2023

                                      UNITED STATES OF AMERICA,
                                               Plaintiff - Appellee

No. 22-3285                           v.

                                      ALFREDO VIVEROS-CHAVEZ,
                                              Defendant - Appellant
Originating Case Information:
District Court No: 1:21-cr-00665-1
Northern District of Illinois, Eastern Division
District Judge Matthew F. Kennelly



To:         Miss Carla Iveth Espinoza
            CHICAGO IMMIGRATION ADVOCATES
            208 S. LaSalle Street
            Suite 1602
            Chicago, IL 60604


Documents that are determined by the Clerk’s Office to be procedurally deficient must be
corrected and returned for filing within seven (7) days from the date of this notice. Previously
set deadlines will not be automatically extended by this deficiency notice. Copies of the
revised document must be served upon all other parties. The substance of the document must
not be changed; only the procedural deficiency is to be corrected. If the initial filing was
untimely or if the revised document is not resubmitted to the Clerk’s Office for filing within the
seven (7) days, a motion for leave to file instanter must accompany it, and must also be served
upon all other parties.

Today this office "Received" your brief, which has been deemed deficient for filing due to the
following procedural concern(s):
             Case: 22-3285              Document: 7               Filed: 02/13/2023            Pages: 2


There is no Cir. R. 30(d) statement or it is not signed. Appellant’s or petitioner’s brief must
contain counsel’s affirmative statement that all materials required by Cir. R. 30(a) and (b) are
included in the appendix. See Cir. R. 30(d). False certificate under Rule 30(d) is sufficient reason
for substantial fines. See United States v. Johnson, 745 F.3d 227, 231-32 (7th Cir. 2014).

There is no required "Short Appendix" attached to the appellant’s or petitioner’s main brief. See
Cir. R. 30.

A summary of argument is required. See Fed. R. App. P. 28(a)(7) and 28(b).

The resubmission will be deemed timely if the electronic filing is accomplished within seven (7)
days of this notice (by 11:59 pm on the seventh day of this notice).

Sincerely,
Clerk of the Court



By: Deputy Clerk:

____________________________________
Margaret L. McNaughton

NOTE:       Counsel should notify the Clerk’s Office within two (2) days of the deficiency letter if they would like the
            deficient briefs returned at counsel’s expense. If not, the deficient briefs will be discarded.



form name: c7_Brief_Deficiency_Letter   (form ID: 187)
